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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


   KATHRYN POTTER on behalf of herself,
   and all others similarly situated,                         Civil Action No.:

                               Plaintiff,

          vs.                                                 CLASS ACTION

   POTNETWORK HOLDINGS, INC.,                                 JURY TRIAL DEMANDED
   DIAMOND CBD, INC., and FIRST
   CAPITAL VENTURE CO.,

                               Defendants.


                                  CLASS ACTION COMPLAINT

         Plaintiff Kathryn Potter, individually and on behalf of all others similarly situated, files this

  Class Action Complaint and alleges as follows:

                             INTRODUCTION AND BACKGROUND

         1.      This is a civil action seeking monetary damages, restitution, and injunctive relief

  from Defendants PotNetwork Holdings, Inc. (“PotNetwork”), Diamond CBD, Inc. (“Diamond

  CBD”), and First Capital Venture Co. (“First Capital”) (collectively, “Defendants”) arising from

  the purchase of cannabidiol (“CBD”) products manufactured, distributed, and sold by Defendants

  based upon their misrepresentations of the quantity of CBD contained in those products.

         2.      Defendants sell a variety of CBS products, including, but not limited to, “CBD

  Oil,” “CBD Edibles,” “CBD Capsules,” “CBD Drinks,” “CBD Edibles,” “CBD Vape Oil,” as well

  as “Bath & Body” and “Cosmetics” products, (collectively, the “Products”).

         3.      CBD is one of the naturally occurring cannabinoids found in cannabis plants,

  including hemp.
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         4.      Many CBD products are derived from hemp. CBD generally does not contain

  significant amounts of tetrahydrocannabinol (“THC”), which is marijuana’s psychoactive

  compound, and CBD has been touted as having numerous positive health effects.

         5.      Specifically, CBD products have been used to treat medical conditions such as

  anxiety, sleep disorders, and chronic pain.

         6.      Today, CBD is commonly used in combination with a number of products including

  food and dietary supplements. CBD is generally administered orally as either a capsule or

  dissolved in an oil solution that may be mixed with other ingredients, but is also administered by

  inhalation as a smoke or vapor.

         7.      In 2018, Congress passed the Agriculture Improvement Act of 2018, Pub. L. 115-

  334, known as the “Farm Bill,” which legalized, at the federal level, the production of industrial

  hemp, from which CBD can be derived. The 2018 Farm Bill removed hemp from the definition of

  marijuana in the Controlled Substances Act, thereby making it legal to grow hemp that contains

  less than 0.3% THC. 7 U.S.C. § 1639o-1639s. The Farm Bill delegated broad authority to the

  states to regulate the production and distribution of hemp, which Florida began in June 2019, with

  its State Hemp Program.

         8.      Since passage of the Farm Bill, the CBD industry has quickly become a billion

  dollar plus industry.

         9.      Unfortunately, as is often the case with emerging industries subject to minimal

  regulation, the CBD market is ripe for exploitation by unscrupulous businesses, and it has been

  compared to the “Wild West.”1



  1
    Dennis Thompson, CBD Oil: All the Rage, But Is It Safe & Effective?, WebMD HealthDay
  Reporter (May 7, 2018), https://www.webmd.com/pain-management/news/20180507/cbd-oil-all-
  the-rage-but-is-it-safe-effective#1 (last accessed September 26, 2019).


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         10.     There has been no shortage of news reports on CBD companies committing all sorts

  of malfeasance—from some companies selling CBD products with significant levels of THC that

  cause users to fail drug tests, to other companies making wholly unsubstantiated health claims.

  Companies are also misrepresenting the amount of CBD in their products.

         11.     Defendants are a market leader in this Wild West of CBD products, having sold as

  much as $200,000 in Products at a single exposition in February 2019.2 News reports claim it is

  one of the top 10 CBD sellers in the nation.3

         12.     Unfortunately, Defendants’ success has been partially fueled by misrepresenting

  the levels of CBD contained in the Products.

         13.     To the detriment of consumers, their Products do not contain the promised levels

  of CBD. Specifically, Defendants misrepresent the amount of CBD contained in the Products on

  the product labeling and packaging and they make the same misrepresentation on Diamond CBD’s

  website, where consumers can directly purchase the Products.

         14.     On information and belief, Defendants are selling the Products with a significantly

  lower amount of CBD than represented, and are therefore cheating every consumer who buys the

  Products by that amount.




  2
    Diamond CBD Books Over $200,000 in Orders in 3 Days at Tobacco Plus Expo in Las Vegas,
  Press Release (Feb. 19, 2019), https://markets.businessinsider.com/news/stocks/diamond-cbd-
  books-over-200-000-in-orders-in-3-days-at-tobacco-plus-expo-in-las-vegas-1027964543     (last
  accessed September 26, 2019).
  3
     Game on: The race for CBD market share, Venture Beat (Mar. 29, 2019),
  https://venturebeat.com/2019/03/29/game-on-the-race-for-cbd-market-share/   (last   accessed
  September 26, 2019).



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         15.     CBD is the active ingredient in the Products at issue here.4 Thus, any discrepancy

  between the listed CBD amount and the actual CBD amount misrepresents what the consumer

  purchases and means that the consumer does not receive what was purchased.

         16.     As reflected in the image below, the package and label of the 550 mg version of

  Diamond CBD’s CBD Oil both prominently claim a CBD level of 550 mg per fl. oz.—even though

  that amount is materially inaccurate.




  4
   See e.g., https://www.diamondcbd.com/products/unflavored-diamond-cbd-oil-550mg (listing
  CBD as the first ingredient on Diamond CBD’s website), (last accessed Sept. 26, 2019).



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          17.    Similar inaccurate information about the amount of CBD in the 550 mg version of

  Diamond CBD’s CBD Oil appears throughout Diamond CBD’s website. Defendants purport that

  one bottle of Diamond CBD contains 550 mg of CBD5, when it actually contains less.

          18.    Florida’s recently enacted State Hemp Program underscores the importance of

  having correct product information about the amount of CBD in hemp-based products, including

  the Products. That statute provides, inter alia, that “[h]emp extract may only be distributed and

  sold in the state if the product… [i]s distributed or sold in packaging that includes… [a] scannable

  barcode or quick response code linked to the certificate of analysis of the hemp extract by an

  independent testing laboratory.” Fla. Stat. § 581.217. Florida also has similar rules related to

  product packaging for medical marijuana distributed in the state. See Fla. Stat. § 381.986 (11)(f).

          19.    While Plaintiff is not seeking to enforce any of the state regulations, certainly they

  are illustrative of the importance of accurate labeling of CBD products such as those at issue in

  this action.

          20.    Despite Defendants’ affirmative representations on the packaging and labeling of

  the Products that they contain the stated levels of CBD—which indicates to reasonable consumers

  that the Products will, in fact, contain the amount of CBD represented—the Products fail to deliver

  the amount of CBD promised.

          21.    Plaintiff and the putative members of the Classes (defined below) have been and

  will continue to be deceived or misled by Defendants’ false and deceptive packaging and labeling

  and representations.




  5
   See https://www.diamondcbd.com/products/unflavored-diamond-cbd-oil-550mg (description of
  CBD Oil on Diamond CBD’s website, last accessed September 27, 2019.)


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         22.     Defendants’ product packaging and labeling lead reasonable consumers to believe

  that the Products contain the amount of CBD promised on the packaging and labeling for the

  Products.

         23.     To the detriment of consumers, the Products’ labeling and packaging are false and

  misleading as the Products do not contain the amount of CBD promised.

         24.     The false belief created by the Products’ labeling and packaging is a material factor

  in influencing consumer purchase decisions.

         25.     Had Plaintiff and the putative members of the Classes known the truth about the

  Products, they would not have purchased the Products and/or would not have paid the prices they

  paid for the Products.

         26.     Plaintiff and each member of the putative Classes were harmed by purchasing the

  Products because they did not receive what they paid for, and, as a result, lost money and property.

         27.     Therefore, Plaintiff, individually and on behalf of the Classes, seek damages,

  restitution, injunctive relief, and other available relief against Defendants for their (i) unjust

  enrichment and (ii) violation of the Florida Deceptive and Unfair Trade Practice Act, Fla. Stat. §§

  501.201, et seq. (“FDUTPA”).

                            PARTIES, JURISDICTION AND VENUE

         28.     Plaintiff Kathryn Potter is a citizen of Florida who resides in Miami, Florida.

         29.     PotNetwork is incorporated in Colorado with its headquarters in Fort Lauderdale,

  Florida.

         30.     PotNetwork’s primary business is conducted through its subsidiary, First Capital,

  whose subsidiary, Diamond CBD is engaged in the development and sales of hemp-derived CBD

  containing products.




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         31.     Diamond CBD is incorporated in Delaware with its headquarters in Fort

  Lauderdale, Florida.

         32.     First Capital is incorporated in Florida with its headquarters in Fort Lauderdale,

  Florida.

         33.     This Court has original jurisdiction over this putative class action lawsuit pursuant

  to the Class Action Fairness Act of 2005, 28 U.S.C. §§ 1332(d)(2) & (6), because the aggregate

  sum of the claims of the members of the putative classes exceed $5 million, exclusive of interest

  and costs, because Plaintiff brings this action on behalf of proposed classes that are comprised of

  over one hundred members, and because at least one of the members of the proposed classes is a

  citizen of a different state than Defendants.

         34.     Pursuant to 28 U.S.C. § 1391, venue is proper in this judicial District because

  Defendants are citizens of Florida and maintain their principal places of business within this

  District, a substantial part of the events giving rise to Plaintiff’s claims took place within this

  District, Defendants distributed, advertised, and sold the Products at issue within this District, and

  documents and witnesses will be located within this District.

                                   PLAINTIFF’S EXPERIENCE

         35.     Plaintiff bought from the Diamond CBD website, in a single purchase order,

  Unflavored Diamond CBD Oil – 550 mg, Diamond CBD Gummies – Infused Gummy Worms –

  75mg, and Chill Gummies – CBD Infused Watermelon Slices – 150mg, the prices for which

  totaled $119.97.

         36.     Plaintiff reviewed the promises on the product labels when purchasing and relied

  upon those promises in making her purchase decision.




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          37.      Had those products not displayed the promises that they contained the specified

  amount of CBD, Plaintiff either would not have made her purchase of the Products or would not

  have been willing to pay a premium for her purchase. If Plaintiff could rely upon the truthfulness

  of Defendants’ labeling, she would continue to purchase Defendants’ Products in the future.

                                   CLASS ACTION ALLEGATIONS

          38.      Plaintiff, pursuant to Federal Rules of Civil Procedure 23(b)(2) and 23(b)(3), brings

  this action on behalf of the following Classes:

          (a) Nationwide Class: All people in the United States who purchased the Products for

                personal use within the applicable statute of limitations period.

          (b) Florida Class: All people who purchased the Products for personal use within the state

                of Florida and within the applicable statute of limitations period.

          39.      Excluded from the Classes are Defendants, their subsidiaries and affiliates, their

  officers, directors and member of their immediate families and any entity in which Defendants

  have a controlling interest, the legal representatives, heirs, successors or assigns of any such

  excluded party, the judicial officer(s) to whom this action is assigned, and the members of their

  immediate families.

          40.      Plaintiff reserves the right to modify or amend the definition of the proposed

  Classes and/or to add a subclass(es), if necessary, before this Court determines whether

  certification is appropriate.

          41.      The questions here are ones of common or general interest such that there is a well-

  defined community of interest among the members of the Classes. These questions predominate

  over questions that may affect only individual class members because Defendants acted on grounds

  generally applicable to the Classes. Such common legal or factual questions include, but are not




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  limited to:

         (a) The actual amount of CBD in the Products;

         (b) Whether Defendants falsely and/or deceptively advertised the Products;

         (c) Whether Defendants were unjustly enriched by its conduct; and

         (d) The appropriate measure of damages.

         42.       The parties are numerous such that joinder is impracticable. Upon information and

  belief, and subject to class discovery, the Classes consist of thousands of members or more, the

  identity of whom are within the exclusive knowledge of and can largely be ascertained resort to

  Defendants’ records.

         43.       It is impracticable to bring the Class members’ individual claims before the Court.

  Class treatment permits a large number of similarly situated persons or entities to prosecute their

  common claims in a single forum simultaneously, efficiently and without the unnecessary

  duplication of evidence, effort, expense, or the possibility of inconsistent or contradictory

  judgments that numerous individual actions would engender. The benefits of the class mechanism,

  including providing injured persons or entities with a method for obtaining redress on claims that

  might not be practicable to pursue individually, substantially outweigh any difficulties that may

  arise in the management of this class action.

         44.       Plaintiff’s claims are typical of the claims of the other members of the Classes in

  that they arise out of the same wrongful business practices by Defendants, as described herein.

         45.       Plaintiff is an adequate representative of the Classes in that Plaintiff bought the

  Products and was damaged as a result of Defendants’ deceptive conduct. In addition:

                a) Plaintiff is committed to the vigorous prosecution of this action on behalf of
                   themselves and all others similarly situated and has retained competent counsel
                   experienced in the prosecution of class actions and, in particular, class actions on
                   behalf of consumers for product defects, breach of warranty on consumer products,
                   and misrepresentations in consumer product labeling;


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                b) There is no conflict of interest between Plaintiff and the unnamed members of the
                   Classes;

                c) Plaintiff anticipates no difficulty in the management of this litigation as a class
                   action; and

                d) Plaintiff’s legal counsel have the financial and legal resources to meet the
                   substantial costs and legal issues associated with this type of litigation.

         46.       Plaintiff knows of no difficulty to be encountered in the maintenance of this action

  that would preclude its maintenance as a class action.

         47.       Defendants have acted or refused to act on grounds generally applicable to the

  Classes, thereby making appropriate corresponding declaratory relief with respect to the Classes

  as a whole.

         48.       All conditions precedent to bringing this action have been satisfied and/or waived.

                                               COUNT I
                                       UNJUST ENRICHMENT
                            (By Plaintiff on Behalf of the Nationwide Class)

         49.       Plaintiff realleges and incorporates herein paragraphs 1 through 48, as if fully set

  forth herein.

         50.       Plaintiff, and all members of the proposed Nationwide Class, conferred a benefit

  upon Defendants, which Defendants had knowledge thereof. Namely, Plaintiff and members of

  the Nationwide Class paid monies to Defendants and their authorized sellers for the Products.

         51.       Defendants voluntarily accepted and retained the monetary benefit conferred under

  circumstances that make it unjust and inequitable for Defendants to retain it without paying

  Plaintiff and the Nationwide Class members the value thereof. Specifically, Defendants retained

  the benefit despite the fact that the Products did not contain the claimed amount of CBD, including

  the amount listed in the Products’ labels and packaging.

         52.       When purchasing the Products, Plaintiff and the Nationwide Class members




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  reasonably believed that the Products would contain the claimed amount of CBD, including the

  amount listed on the labels and packaging.

            53.   Plaintiff and the Nationwide Class members received less than what they paid for

  in that the Products did not contain the claimed amount of CBD, including the amount listed in

  Products labels and packaging.

            54.   Had Plaintiff and the Nationwide Class members known about the inaccuracy of

  the claimed amount of CBD, including the amount listed on the labels and packaging, they would

  not have purchased the Products or would have paid less for the Products.

            55.   Defendants should therefore be required to disgorge all profits, benefits, and other

  such compensation it obtained through their wrongful conduct.

                                              COUNT II
                   VIOLATION OF FDUTPA, FLA. STAT. §§ 501.201, et seq.
                  (Plaintiff, Individually, and on Behalf of the Florida Subclass)

            56.   Plaintiff realleges and incorporates herein paragraphs 1 through 48, as if fully set

  forth herein.

            57.   Plaintiff and members of the Florida Subclass are authorized to bring this Florida

  Deceptive and Unfair Trade Practices Act (“FDUTPA”) claim, pursuant to Florida Statute §

  501.211, which creates a private right of actions for consumers including Plaintiff Potter and

  members of the Florida Subclass, who may seek declaratory relief, injunctive relief, actual

  damages, and attorneys’ fees and costs as provided in Fla. Stat. § 501.2105. All such relief is

  sought in this count, and Plaintiff and all members of the Florida Subclass are entitled to such

  relief.

            58.   Fla. Stat. § 501.204(1) prohibits “Unfair methods of competition, unconscionable

  acts or practices, and unfair or deceptive acts or practices in the conduct of any trade or commerce.”

            59.   Among other purposes, FDUTPA is intended “[t]o protect the consuming public


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  and legitimate business enterprises from those who engage in unfair methods of competition, or

  unconscionable, deceptive, or unfair acts or practices in the conduct of any trade or commerce.”

  Fla. Stat. § 501.202.

         60.       Defendants, at all relevant times, solicited, advertised, offered, provided and

  distributed goods in the State of Florida, and thereby was engaged in trade or commerce as defined

  by Fla. Stat. § 501.203(8).

         61.       Plaintiff, and all members of the Florida Subclass, at all material times were

  consumers, as defined by Fla. Stat. § 501.203(7), and are thus entitled to seek the underlying relief.

         62.       Defendants engaged in unfair and deceptive acts, in violation of Fla. Stat. §

  501.204, when they represented in their claims, including in the Products’ labels and packaging

  that its Products contained specific amounts of CBD, when in fact, the Products did not contain

  those amounts.

         63.       It was reasonable for consumers, including Plaintiff and members of the Florida

  Subclass, to rely on Defendants’ representations regarding the amount of CBD in the Products.

  Had they known that those representations were false and misleading, they would not have

  purchased the Products or would have paid less for them.

         64.       Defendants’ unfair and/or deceptive acts were likely to deceive reasonable

  consumers, such as Plaintiff and members of the Florida Subclass, about the true nature of the

  Products, which Defendants manufacture, distribute, and sell.

         65.       As a direct and proximate result of Defendants’ violations of the statutes referenced

  herein, Plaintiff and members of the Florida Subclass suffered injuries and as a result, are entitled

  to actual damages, declaratory and injunctive relief, and attorneys’ fees and costs.




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                                       PRAYER FOR RELIEF

          WHEREFORE, Plaintiff, individually and on behalf of the Classes, demands judgment as

  follows:

      a) Certifying the Classes;

      b) Ordering restitution and disgorgement of all profits and unjust enrichment Defendants

          obtained from Plaintiff and the members of the Classes as a result of Defendants’ unlawful,

          unfair and fraudulent business practices;

      c) Awarding Plaintiff and the proposed members of the Classes damages;

      d) Ordering injunctive relief;

      e) Awarding statutory damages, as appropriate;

      f) Ordering Defendants to pay attorneys’ fees and litigation costs to Plaintiff and the other

          members of the Classes;

      g) Ordering Defendants to pay both pre- and post-judgment interest on any amounts awarded;

          and

      h) Ordering such other and further relief as may be just and proper.

                                    DEMAND FOR JURY TRIAL

          Plaintiff, on behalf of herself and the proposed Classes, hereby demands a trial by jury on

  all claims so triable.



  Dated: September 27, 2019                     Respectfully submitted,

                                                /s/ Jeff Ostrow
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                                                Daniel Tropin FBN 100424
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